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Civil Action No. 3:16-—CV-—75

EXHIBIT A

 

 

 

 

 

 

 
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REGISTER OF ACTIONS
Case No. 2016DCV0175

 

 

Rose M. Ramirez vs Total Renal Care, Inc. d/b/a Davita a/k/a Sierra Mobile § Case Type: Wrongful Termination
Acute Dialysis Services § Date Filed: 01/15/2016

§ Location: 327th District Court

§

§

PARTY INFORMATION
Lead Attorneys
Defendant Total Renal Care, {nc. ADAM D. BOLAND
Retained

210-354-1300(W)

Plaintiff Ramirez, Rose ENRIQUE CHAVEZ, Jr.
Retained
915-351-7772(W)

 

EVENTS & ORDERS OF THE COURT

OTHER EVENTS AND HEARINGS
01/15/2016| Original Petition (OCA) Doc ID# 1
01/15/2016] Case information Sheet Doc ID# 2
01/15/2016| E-File Event Original Filing
01/28/2016 | Citation
Total Renal Care, Inc. Unserved Response Received 02/24/2016
02/24/2016 | Answer Doc ID# 4

https://casesearch.epcounty .com/PublicAccess/CaseDetail.aspx?CaseID=7489540 3/1/2016
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El Paso County - 327th District Court Filed 1/15/2016 4:24:41 PM
Norma L. Favela
District Clerk
El Paso County
. 2016DCV0175
ROSE M. RAMIREZ, § ,
Plaintiff, §
§ .
v. § : Cause Now .
§
TOTAL RENAL CARE, INC. §
D/B/A DAVITA A/K/A SIERRA MOBILE §
ACUTE DIALYSIS SERVICES §
§

Defendants.

PLAINTIFF’ Ss ORIGINAL. PETITION AND REQUEST For DISCLOSURE

“aa

TO THE HONORABLE COURT:

Plaintiff ROSE M. RAMIREZ (“Employee RAMIREZ”), now files her Original Petition

complaining of TOTAL RENAL CARE d/b/a DAVITA a/k/a SIERRA MOBILE ACTUTE
DIALYSIS SERVICES (“Employer DAVITA”) and respectfully show as follows:

1.

I. DISCOVERY LEVEL
"Discovery i is intended to be conducted under level 2 of Rule 190 of the Texas Rules of Civil
Procedure.
IL PARTIES

Employee RAMIREZ is an individual residing in El Paso County, Texas.

Employer TOTAL RENAL CARE, INC. D/B/A DAVITA A/K/A SIERRA MOBILE ACUTE
DIALYSIS SERVICES is a corporation upon whom service may be obtained by serving its
registered agent for service of process, CORPORATION SERVICE COMPANY D/B/A/

"- CSC-LAWYERS INC. SERVICE 'CO., 211 E. 7th Street, Suite 620, Austin, Texas 78701.

IIL. VENUE
Pursuant to Texas Civil Practice and Remedies Code Section 15.002, venue is proper in El
Paso County, Texas because all or a substantial part of the events or omissions giving rise to
Employee RAMIREZ’S claim occurred in El Paso, Texas.

- “ IV. BACKGROUND & CHRONOLOGY

. Employers. MUST prevent sex discrimination against female employees to protect female

employees from emotional harms and financial losses.
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Employers MUST prevent pregnancy discrimination against female employees to protect its
employees and families from emotional harms and financial losses.

On or about September 7, 2010, Employer DAVITA hired Employee RAMIREZ for the
position of registered nurse IT for Employer DAVITA’s El Paso dialysis centers.

On or about December, 2011, Employer DAVITA was put on notice that Employee
RAMIREZ was pregnant when Employee RAMIREZ told them. ,

On or about January 6, 2012, Employer DAVITA’s Manager and Facility Administrator
Victor Tapia notifies Employee RAMIREZ that Highland’s Regional Rehabilitation Hospital
supposedly requested that Employee RAMIREZ no longer provide patient care on its
premises.

In the Summer of 2012, Employer DAVITA’s Senior Staff Member, Timo Briffa (“Senior
Staff Member Briffa”), is asked by Employee RAMIREZ why Employer DAVITA employs |
so few women. "

Senior Staff Member Briffa responds “Cause you guys get knocked up.”

On or about July 31, 2012, Employer DAVITA’s Manager Frank Gamez notifies Employee
RAMIIREZ that Sierra Medical Center suposedly requested that Employee RAMIREZ no
longer provide patient care on its premises.

EMPLOYER DAVITA places Employee RAMIREZ on maternity leave from on or about
August 24, 2012 until December 31, 2012.

On or about January, 2013, Employer DAVITA demotes Employee RAMIREZ when
Employee RAMIREZ returns from maternity leave by cutting Employee RAMIREZ’S
hours from full-time to per diem, without any explanation. .
Employer DAVITA receives numerous requests from Employee RAMIREZ to be reinstated
to full time. |

.Employer DAVITA repeatedly denies her request.

In the meantime, however, Employer DAVITA grants the request of male employees who

request full time employment.

Employer DAVITA retaliates against Employee RAMIREZ when it refuses to give her work.

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Case 3:16-cv-00075-PRM Document 1-3 Filed 03/04/16 Page 5 of 16

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On or about June 24, 2014, Employer DAVITA’s Manger and Facility Administrator Victor
Tapia notifies Employee RAMIREZ that Mesa Hills Speciality Hospital supposedly
requested that Employee RAMIREZ no longer provide patient care on its premises.

On July 9, 2014, Employer DAVITA receives a memo from Employee RAMIREZ’s wherein
she informs Employer DAVITA of the statements that Senior Staff Member Briffa’s makes to
Employee RAMIREZ during the Summer of 2012.

In addition, though the July 9, 2014 memo Employer DAVITA receives Employee
RAMIREZ’s concems about Employer DAVITA refusing to place her on the work schedule.
Moreover, Employer DAVITA receives Employee RAMIREZ’s request that Employer
DAVITA protect her from retaliation and discrimination due to her pregnancy, because she is
a woman, and because she had previously made complaints regarding discriminatory
comments made to her.

On or about August 11, 2014, Employer DAVITA’s through two of its agents, Manager and
Facility Administrator Victor Tapia and Manager Frank Gamez send Employee RAMIREZ a
letter notifying her that her employment with Employer DAVITA is hereby terminated.

Attached to the letter of termination is a “Termination Documentation Form” wherein |

-Employer DAVITA falsely claims that as a result of the January 6, 2012, July 31, 2012, and

June 24, 2014 hospital bans, are what lead to Employee RAMIREZ’S termination.

In addition, Employer DAVITA’S Termination Documentation Form falsely says that
Employee RAMIREZ violated specific guidelines and policies which resulted in her
termination. .

Moreover, this form falsely claims that Employer DAVITA’s Managers Tapia and Gamez
notified Employee RAMIREZ of various hospitals’ requests that Employee RAMIREZ no
longer provide patient care on their premises. |
During Employee RAMIREZ’S employment, she did not have any written reprimands nor
any disciplinary actions against her before her termination.

Employer DAVITA’s actions and dismissal of Employee RAMIREZ are in violation of the
Texas Commission on Human Rights Act (TCHRA), codified at Tex. Labor Code Section
21.051.

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V. NOTICE OF RIGHT TO SUE
Attached as Exhibit “A” to Employee RAMIREZ’s Original Petition is the Notice of Right
to File a Civil Action issued by the Texas Commission on Human Rights for Rose M.
Ramirez.
VI. HARMS AND LOSSES
Employee RAMIREZ seeks back pay, front pay and or lost wages and benefits in the past
and future. Further, Employee RAMIREZ is entitled to compensatory damages, including
pecuniary damages, mental anguish or emotional pain and suffering, inconvenience, and loss
of enjoyment of life in the past and in the future. .
Additionally, Employee RAMIREZ is entitled to recover punitive damages against Employer
DAVITA because it acted with malice or, at least, with reckless and/or conscious indifference
to Employee RAMIREZ’s state protected rights to be free from discrimination and
retaliation, as contemplated by Texas Labor Code Section 21.2585.
VII. ATTORNEY’S FEES
Plaintiff is entitled to reasonable attorney’s fees and reasonable expert fees as costs in |
prosecuting this lawsuit.
VII. JURY DEMAND .
Plaintiff requests that this case be decided by a jury as allowed by Texas Rule of Civil
Procedure 216.
TX. REQUEST FOR DISCLOSURE
Pursuant to Texas Rule of Civil Procedure 194, Defendant is requested to disclose the -

information and material described in Rule 194.2(a)-(k).

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X. Prayer

Employee, ROSE M. RAMIREZ respectfully prays that she recover from Employer
TOTAL RENAL CARE, INC. D/B/A DAVITA A/K/A SIERRA MOBILE ACTUE DIALYSIS
SERVICES, jointly and severally, actual damages over $200,000.00 but not more than
$1,000,000.00, including but not limited to past and future lost earnings, mental anguish and
inconvenience, emotional pain and suffering, loss of enjoyment of life, economic damages and
. benefits in the past and future, compensatory damages, statutory and punitive damages,
reinstatement, plus prejudgment interest, post-judgment interest, attorney’s fees, expert fees,
costs and such other and further relief to which each may show herself to be justly entitled, in
law and in equity. Such damages sought by Employee ROSE.M. RAMIREZ are within the

jurisdictional limits of the court.

SIGNED on this | , day of January, 2016.

Respectfully submitted,
Chavez Law Firm

2101 North Stanton Street
El Paso, Texas 79902
(915) 351-7772

(915) 351-7773 facsimile

Enrique Chavez, Jr.
State Bar No.: 24001873

Attorney for Plaintiff
 

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wor, | a
ae $3 x, Texas Workforce Commission
) ye : _ Civil Rights Division

December 22, 2015

ROSA M RAMIREZ

c/o ENRIQUE L CHAVEZ, JR
CHAVEZ:LAW FIRM .
2101N:STANTON ~

EL PASO, TX 79902,

Re: | ROSAM RAMIREZ v. SIERRA MOBILE ACU’ TE DIALYSIS. SERVICES
' BEOC Complaint # 453-2014-01113 ,
CRD/Local Commission Complaint #

The above-referenced case was processed by the United States Equal Employment Opportunity Commission ¢ or a local
agency. Pursuant to Sections 21.252 and 21.254 of the Fexas Labor Code, this notice is to advise you of your right fo
bring a private civil action in state: court in, the above-referenced case. YOU HAVE SIXTY ©) DAYS FROM THE ,
RECEIPT OF THIS NOTICE TO FILE THIS CIVIL ACTION. ,

If your case has been successfully resolved by the U.S. ‘Equal Employment Opportunity Commission or + another
agency through a: voliintary settlement or conciliation agreement, you may be prohibited by the terms of such an‘
agreement from filing a private civil action in state: court pursuant to the Texas Commission on Human Rights Act, as
amended.

The United States Supreme Court has held i in 1 Kremer v. Chemical Construction Corporation, 456 U.S. 461 (1982), that
a federal ‘district court mist generally dismiss a Title VIL action involving the same parties and raising the same issues

as those raised in a prior state court action under Chapter 21 of the Texas Labor Code. Therefore, filing a lawsuit in
state court based on the issuance of this-notice of right to:file a civil action may prevent you from filing a lawsuit i in”
federal court based on Title VI of the Civil Rights Act of 1964, as amended, 42 U.S.C. 20008 - "et seq:

Sincerely,

   

, Lowell. A. Keig_
Division Director °

: RETAIN ENVELOPE TO VERIFY DATE RECEIVED
Copy to:

SIERRA MOBILE ACUTE DIALYSIS SERVICES

ATTN: VICTOR TAPIA, HR DIRECTOR .

DAVITA DIALYSIS

6000 WELCH DRIVE, STE 17

EL PASO, TX 79905

101 E. 15th Street, Room 1aaTs Austin, Texas 78778-0001 + » (512) 463-2642 (T) » (512) 463-2643 on Relay Texas: 800-735-2989 (TDD) 800-735-2988 (Voice) * www. texasworkforce. org
Equal Opportunity Employer / Program

Exhibit A
Case 3:16-cv-00075-PRM Document 1-3 Filed 03/04/16 Page 9 of 16

THE STATE OF TEXAS

NOTICE TO DEFENDANT: “You have been sued. You may employ an attorney. If you, or your attorney, do not
file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you.”

TO: TOTAL RENAL CARE, INC. D/B/A DAVITA A/K/A SIERRA MOBILE ACUTE DIALYSIS SERVICES, who may be
served with process through its registered agent, CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS INC
SERVICE CO, 211 E 7TH STREET, SUITE 620, AUSTIN, TX 78701

Greetings:

You are hereby commanded to appear by filing a written answer to the Plaintiffs Original Petition and Request for
Disclosure at or before ten o'clock A.M. of the Monday next after the expiration of twenty days after the date of service of
this citation before the Honorable 327" Judicial District Court, El Paso County, Texas, at the Court House of said
County in El Paso, Texas. ‘

Said Plaintiff's Petition was filed in said court on the 15” day of January, 2016, by Attorney at Law ENRIQUE
CHAVEZ, JR. 2101 N STANTON ST, EL PASO, TX 79902 in this case numbered 2016DCV0175 on the docket of said
court, and styled:

Rose M. Ramirez
vs .
Total Renal Care, Inc. d/b/a Davita a/k/a Sierra Mobile Acute Dialysis Services

- The-nature of-Plaintiffs demand is fully shown by a true and correct copy of the Plaintiff's Original Petition and
Request for Disclosure accompanying this citation and made a part hereof. :

The officer executing this writ shall promptly serve the same according to Fequirements of law, aid the mandates
thereof, and make due return as the law directs.

Issued and given under my hand and seal of said Court at I Paso, Texas,'on this the 28"" day of January, 2016.

NORMA L. FAVEFA \
District Clerk] f (00
El Paso County Coumtha By eputy

500 E. San Antonio AVA\R) Erica Romero
El Paso Texas, 799%
CERTIFICATE OF DELIVERY BY MAIL

     
  

AN

 

 

 

 

 

 

 

ATTACH .
RETURN RECEIPTS | hereby certify that on the day of
WITH .
ADDRESSEE'S SIGNATURE 2016, at____ | mailed to

Rule 106 (a) (2) the citation shall be served by

mailing to the defendant by Certified Mail Return

receipt requested, a true copy of the citation.

Sec. 17.027 Rules of Civil Practice and an Defendant(s) by registered mail or certified mail with -
cat Code it if not prepared PY Clerk of delivery restricted to addressee only, return receipt
. ou a: Be ; oe requested, a true copy of this citation with a copy of

— —— i aaa — : the. Plaintiffs Original Petition and Request for ..

NAME OF PREPARER TITLE
Disclosure attached thereto.
ADDRESS
CITY STATE ZIP

 

 

TITLE

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Case 3:16-cv-00075-PRM Document 1-3 Filed 03/04/16 Page 10 of 16

. RETURN OF SERVICE

Delivery was completed on , delivered to

as evidence by Domestic Return Receipt PS Form 3811

 

attached hereto. ;
The described documents were not delivered to the named recipient. The certified mail envelope was returned
undelivered marked

 

This forwarding address was provided:

 

- El Paso County, Texas

 

 

By: : :
Deputy District Clerk
OR |
Name of Authorized Person
By:

 

VERIFICATION BY-AUTHORIZED PERSON

State of Texas
County of El Paso

Before me, a notary public, on this day personally appeared oe , known to me to be the person
whose name is subscribed to the foregoing Return of Service, and being. by me fst duly sworn, declared, “l am

   

disinterested party qualified to make an oath of that fact and statements contaiedtin the Return. of Service and true and

correct.”

Subscribed and sworn to be on this day

of

 

 

Notary Public, State of
Soy pyre = Mi My: commission expires:
Case 3:16-cv-00075-PRM Document 1-3 Filed 03/04/16 Page 11 of 16

 

  

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ROSAMRAMIREZ 7
cfo ENRIQUE L CHAVEZ, JR
’ CHAVEZ LAW FIRM
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EL PASO, TX 79902 ° | :
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Case 3:16-cv-00075-PRM Document 1

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El Paso County - 327th District Court Filed 2/24/2016 8:58:59 AM
. Norma L. Favela |

District Clerk .

El Paso County

CAUSE NO. 2016DCV0175

IN THE DISTRICT COURT

ROSE M. RAMIREZ, §
§
Plaintiff, §
§
v. § 3271" JUDICIAL DISTRICT
§
TOTAL RENAL CARE, INC.,D/B/A §
DAVITA A/K/A SIERRA MOBILE §
ACUTE DIALYSIS SERVICES, §
Defendant. § EL PASO COUNTY, TEXAS

DEFENDANT’S ORIGINAL ANSWER

COMES NOW Defendant Total Renal Care, Inc., incorrectly named as Total Renal Care,
Inc., d/b/a DaVita a/k/a Sierra Mobile Acute Dialysis Services, and in answer to Plaintiff Rose
M. Ramirez’ Original Petition states as follows:

General Denial

1. Defendant denies each and every, all and singular, allegations of the Plaintiff and
demands strict proof thereof in accordance with the Constitution and laws of the United States
and the State of Texas.

Affirmative Defenses

1. Plaintiff is precluded from recovering from any events occurring outside the
applicable statute of limitations provided for in the Texas Labor Code or Texas Civil Practice
and Remedies Code.

2. Any claim in Plaintiff's Original Petition that was not raised in a charge of
discrimination filed with the Equal Employment Opportunity Commission (“EEOC”) within 300
days of the date of the alleged wrongful conduct, and any claim under the Texas Commission on
Human Rights Act (““TCHRA”) that was not raised in a charge of discrimination filed with the

Texas Workforce Commission — Civil Rights Division (““TWC-CRD”) within 180 days of the

2016DCV0175
. Case 3:16-cv-00075-PRM Document.1-3....Filed_03/04/16 Page 14.0f 16. _

alleged wrongful conduct, is barred by Plaintiff's failure to exhaust administrative remedies and
the applicable statutes of limitations.

3. To the extent Plaintiff filed suit more than 60 days after receiving her Notice of
Right to File Civil Action from the TWC-CRD or more than 90 days after receiving her
Dismissal and Notice of Rights from the EEOC, her claims are barred by limitations. |

4, Plaintiff's claims for compensatory and punitive damages are subject to the
limitations set by Texas Labor Code § 21 2585(d).

5. Plaintiff has failed to mitigate any damages she may have suffered on account of
Defendant’s actions, and the damages, if any, sustained by Plaintiff should be reduced by the
value of any wages, benefits, and payments in lieu of wages that Plaintiff has earned or received
since the events of which Plaintiff complains.

6. Defendant had legitimate, non-discriminatory reasons for the actions taken in
relation to Plaintiff's employment, and all decisions made regarding Plaintiff's employment were
made in the exercise of proper managerial discretion and in good faith for legitimate reasons.

7. Defendant would have taken the same actions with respect to Plaintiff even in the
absence of the discriminatory and/or retaliatory motives alleged by Plaintiff.

8. Defendant cannot be vicariously liable for retaliatory employment decisions of
managerial agents because those decisions, if any, were contrary to Defendant’s good faith
efforts to comply with applicable federal, state, and local laws and regulations prohibiting
employment discrimination and retaliation. Further, Plaintiff is not entitled to recover punitive
or exemplary damages. See Kolstad v. Amer. Dental Ass’n, 527 U.S. 526 (1999).

9. Plaintiff's claims for punitive damages are barred because the alleged acts or

omissions of Defendant, even if proved, fail to rise to a level required to sustain an award of
_.. Case.3:16-cv-00075-PRM., Document.1-3... Filed 03/04/16. Page 15.of 16.....

punitive damages, do not evidence malicious, reckless or fraudulent intent to deny Plaintiff her

protected rights, and are not wanton and willful so as to support an award of punitive damages.

Prayer

WHEREFORE, PREMISES CONSIDERED, Defendant Total Renal Care, Inc., prays
that on final hearing, the Court dismiss Plaintiff’s claims in their entirety and order that she take
nothing by reason thereof, and grant to Defendant such other relief to which it may show itself
justly entitled at law or in equity.

Respectfully submitted,

OGLETREE, DEAKINS, NASH, SMOAK &
STEWART, P.C.

2700 Weston Centre

112 East Pecan Street

San Antonio, TX 78205

210.354.1300 (phone)

210.277.2702 (fax)

By: _/s/ Adam D. Boland
Lawrence D. Smith
State Bar No. 18638800
Larry.Smith@ogletreedeakins.com
Adam D. Boland
State Bar No. 24045520
Adam.Boland@ogletreedeakins.com

ATTORNEYS FOR DEFENDANT
TOTAL RENAL CARE, INC. _
Case.3:16-cv-00075-PRM., Document.1-3. Filed 03/04/16.. Page 16 of 16 2 eee

CERTIFICATE OF SERVICE

I hereby certify that on this ai. day of February, 2016, a true and correct copy of the
foregoing document was filed using the electronic filing system, which will transmit a Notice of
Electronic Filing to the following counsel of record:

Enrique Chavez, Jr.
Chavez Law Firm
2101 North Stanton Street
El Paso, Texas 79902

/s/ Adam D. Boland
Lawrence D. Smith / Adam D. Boland

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